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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

    UNITED STATES OF AMERICA,                      )
                                                   )
          Plaintiff,                               )     Crim. No. 6:13-cr-00047-GFVT-HAI-3
                                                   )
    V.                                             )
                                                   )
    DORA BOWLING,                                  )                      ORDER
                                                   )
          Defendant.                               )
                                                   )

                                        *** *** *** ***

         This matter is before the Court on the alleged violations by Defendant Dora Bowling of

her supervised release conditions. Following the final hearing before Magistrate Judge Hanly A.

Ingram, Judge Ingram issued a Recommended Disposition concerning Ms. Bowling’s alleged

violations. [R. 869.] Ms. Bowling objected to the Recommended Disposition and this Court

held an allocution hearing. [R. 870.] For the reasons that follow, the Recommended Disposition

[R. 869] will be adopted.

         Judgment was originally entered against Ms. Bowling in March 2015, after she pled

guilty to participating in a conspiracy to manufacture methamphetamine. 1 [R. 693; R. 700.] At

that time, Ms. Bowling was sentenced to seventy-two months of imprisonment, followed by a

three-year term of supervised release. [R. 700.] Ms. Bowling began her term of supervised

release on May 28, 2019. [R. 869 at 1.]

         On December 3, 2019, the United States Probation Office issued a Supervised Release


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 Judge Ingram’s Recommended Disposition accurately sets forth a more detailed account of the factual
and procedural background of the case. [See R. 869.] In addition to what the Court summarizes in its
discussion below, the Court incorporates Judge Ingram’s discussion of the record into this Order.
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Violation Report which initiated these proceedings. Id. Ms. Bowling made her initial

appearance on February 21, 2020 and was remanded to custody at that time. [Id. at 3; R. 867.]

The Report issued by the USPO charged Ms. Bowling with two violations, each stemming from

her submission of a urine sample which tested positive for amphetamine and methamphetamine.

[R. 869 at 1.] Specifically, Violation #1 alleges that Ms. Bowling violated the condition of her

supervised release which, among other things, requires her to not purchase, possess or use any

controlled substance, except as prescribed by a physician. Id. at 2. Such conduct would

constitute a Grade C violation. Id. Violation #2 alleges that Ms. Bowling violated the condition

of her supervised release which requires her to not commit another federal, state, or local crime.

Id. Based on Ms. Bowling’s prior drug conviction, use is the same as possession. Id. Therefore,

her alleged use of methamphetamine is conduct in violation of 21 U.S.C. § 844(c), Possession of

a Controlled Substance, a Class E Felony. Id. This conduct would constitute a Grade B

violation. Id.

       At the final hearing before Judge Ingram on February 27, 2020, Ms. Bowling

competently entered a knowing, voluntary, and intelligent stipulation to both violations as

charged in the Report. [Id. at 2; R. 868.] The parties did not offer a jointly recommended

sentence. [R. 869 at 4.] The United States argued for twelve months of imprisonment, along

with two years of supervised release including mandatory substance abuse treatment. Id.

Defense counsel argued for drug addiction treatment instead of revocation. Id.

       On March 3, 2020, Judge Ingram issued a Recommended Disposition recommending that

Ms. Bowling be found guilty of both violations. [R. 869.] Further, Judge Ingram recommended

revocation of her supervised release and a term of twelve months and one day of imprisonment,

followed by a twenty-four-month term of supervised release. Id. at 7.



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       Under Federal Rule of Civil Procedure 72(b)(2), a petitioner has fourteen days after

service to register any objections to the Recommended Disposition or else waive her rights to

appeal. In order to receive de novo review by this Court, any objection must be specific. Mira v.

Marshall, 806 F.2d 636, 637 (6th Cir. 1986). A specific objection “explain[s] and cite[s] specific

portions of the report which [counsel] deem[s] problematic.” Robert v. Tesson, 507 F.3d. 981,

994 (6th Cir. 2007) (quoting Smith v. Chater, 121 F.3d 709, 1997 WL 415309, at *2 (6th Cir.

1997) (unpublished opinion)). A general objection that fails to identify specific factual or legal

issues from the Recommendation, however, is not permitted, since it duplicates the magistrate’s

efforts and wastes judicial economy. Howard v. Secretary of Health and Human Services, 932

F.2d 505, 509 (6th Cir. 1991).

       Ms. Bowling, through counsel, made an objection to the Recommendation and expressly

requested an opportunity to exercise her right of allocution. [R. 870.] Ms. Bowling’s objection

amounts to a disagreement with the recommended sentence. Specifically, she argues that if

Judge Ingram recommended incarceration, as opposed to solely drug treatment, then he “should

have sentenced her to a sentence at the low end or below the guideline range accompanied with

more intensive treatment upon release.” Id. at 1. Ms. Bowling’s objection is sufficiently definite

to trigger this Court’s obligation to conduct a de novo review. See 28 U.S.C. § 636(b)(1)(c).

       Following the filing of her objection, an allocution hearing was held pursuant to Ms.

Bowling’s request. [See R. 874.] At the hearing, the Court heard argument of counsel for both

Ms. Bowling and the United States and also heard from Ms. Bowling concerning her alleged

conduct and desire to seek treatment. At that conclusion of the hearing, this Court took the

objection under advisement. Id. The Court has now satisfied its obligation to conduct a de novo

review and will OVERRULE Ms. Bowling’s objection.



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        In reaching his recommended sentence Judge Ingram appropriately considered the 18

U.S.C. § 3553 factors. Judge Ingram noted the possibility of Ms. Bowling completing drug

treatment, in lieu of incarceration, but found that the treatment exception was not warranted in

this case. [R. 869 at 5.] Judge Ingram reasoned that her prior withdrawal from the RDAP

program counseled against such a course of action. Id. Further, while she ultimately admitted to

the drug use, Ms. Bowling initially lied to her probation officer following the initial drug test.

Id. Finally, the nature of the violation, methamphetamine use, is concerning given that the

underlying conviction was for conspiracy to manufacture methamphetamine. Such a violation

raises the possibility that Ms. Bowling might return to trafficking. Id.

       In terms of mitigating factors, the Court notes that in her allocution hearing, Ms. Bowling

expressed a commendable desire to seek treatment. In addition, she represents, and the letters

received by the Court indicate, that she will have a supportive environment upon release.

       The Court has examined the record and arguments made during the allocution hearing

and agrees with Magistrate Judge Ingram’s reasoning and recommended term of imprisonment.

Importantly, the Court notes that the current terms of Ms. Bowling’s supervised release afford

the USPO discretion to provide for inpatient treatment upon release. The Court trusts the USPO

will fashion the appropriate plan of action to give Ms. Bowling the best opportunity to overcome

her addiction. Lastly, the Court will direct the USPO to notify the Court approximately three

months after Ms. Bowling’s release from incarceration in order to schedule a status conference.

In large part, this conference is to serve as an opportunity for Ms. Bowling to inform the Court of

the positive steps she has taken to beat her addiction and become a productive member of

society, with the help of her strong support system.




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       Accordingly, and the Court being otherwise sufficiently advised, it is hereby ORDERED

as follows:

       1.      The Defendant’s Objections [R. 870] to the Magistrate Judge’s Report and

Recommendation [R. 869] are OVERRULED;

       2.      The Magistrate Judge’s Report and Recommendation [R. 869] is ADOPTED as

and for the Opinion of the Court;

       3.      Defendant Dora Bowling is found to have violated the terms of her Supervised

Release as set forth in the Petition filed by the U.S. Probation Office and the Recommended

Disposition of the Magistrate Judge;

       3.      Ms. Bowling’s supervised release is REVOKED;

       4.      Ms. Bowling is SENTENCED to the Custody of the Bureau of Prisons for a

twelve-month and one day term of imprisonment;

       5.      Following her release from incarceration, Ms. Bowling is to be placed on

supervised release for a term of twenty-four months under the conditions originally imposed; and

       6.      The U.S. Probation Office is DIRECTED to notify the Court approximately three

months after Ms. Bowling is released from incarceration, for the purpose of setting a status

conference.

       This the 11th day of May, 2020.




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